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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   (at Covington)

  UNITED STATES OF AMERICA,                          )
                                                     )
         Plaintiff,                                  )     Criminal Action No. 2: 07-039-DCR
                                                     )
  V.                                                 )
                                                     )
  SHIRLEY A. CUNNINGHAM, JR.,                        )       MEMORANDUM OPINION
                                                     )           AND ORDER
         Defendant.                                  )

                                    ***   ***        ***   ***

       Defendant Shirley A. Cunningham, Jr., has filed a pro se motion for compassionate

release under 18 U.S.C. § 3582(c)(1)(A). The motion will be denied because Cunningham has

failed to identify an extraordinary and compelling reason warranting a sentence reduction and

the factors under 18 U.S.C. § 3553(a) do not support granting the relief requested.

                                                I.

       Cunningham was one of three Kentucky lawyers who represented clients in a mass-tort

action against the manufacturer of the defective drug “fen-phen.” After settling the case for in

excess of $200 million, Cunningham and co-defendant William Gallion conspired to defraud

clients of nearly twice the amount of bargained-for attorneys’ fees. Their scheme was foiled

when they were caught and charged with wire fraud and conspiracy to commit wire fraud.

       In April 2009, a jury convicted Cunningham of one count of conspiring to commit wire

fraud and eight counts of aiding and abetting wire fraud. He was sentenced to 240 months’

imprisonment on each count, to run concurrently, for a total term of imprisonment of 240

months. [Record No. 956] The United States Court of Appeals for the Sixth Circuit affirmed


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his conviction in May 2012, and his subsequent motion to vacate his sentence under 28 U.S.C.

§ 2255 was dismissed, with prejudice. [Record Nos. 1329, 1413, 1443] Cunningham seeks

compassionate release under 18 U.S.C. § 3582(c)(1)(A).

                                               II.

         The Court generally may not modify a term of imprisonment once it has been imposed.

18 U.S.C. § 3582(c). However, an exception to this general rule exists when a defendant, after

fully exhausting all administrative rights, brings a motion under § 3582(c)(1)(A)

demonstrating that extraordinary and compelling circumstances warrant a sentence reduction;

that a sentence reduction is consistent with the factors set forth in 18 U.S.C. § 3553(a), to the

extent they are applicable; and that such a reduction is consistent with applicable policy

statements issued by the United States Sentencing Commission. § 3582(c)(1)(A) (amended

2018).

         Prior to enactment of the First Step Act of 2018, only the Bureau of Prisons (“BOP”)

could request compassionate release on a defendant’s behalf. United States v. McCall, 56

F.4th 1048, 1054 (6th Cir. 2022) (citing § 3582(c)(1)(A) (2002)). The procedure changed

significantly at the end of 2018. The First Step Act eliminated this gatekeeping role and

allowed prisoners to move for relief when the BOP declined to act. Id. As of today, the

Sentencing Commission has not adopted a policy statement that applies when a defendant (as

opposed to the Bureau of Prisons) files a motion for compassionate release. Id. Accordingly,

the Court only need consider whether the defendant has identified extraordinary and

compelling reasons for a sentence reduction and whether the § 3553(a) factors support granting

the relief sought. Id.



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                                              III.

       Cunningham, is 68 years old, is currently on home confinement, and is projected to be

released from home confinement on March 29, 2024. He contends that “he received an

unusually long sentence based on a theory of sentencing culpability that has subsequently been

rejected by the courts.” [Record No. 1473-1, p. 20] Specifically, he complains that the Court

relied on the amount of intended loss involved in his crimes, rather than the actual loss.

       Cunningham received a 24-point increase to his base offense level based on a loss

amount of $65,363,592.51. See U.S.S.G. § 2B1.1(b)(1) (2008). This resulted in a total offense

level of 39, which, when combined with his criminal history category of I, produced an

advisory guidelines range of 262 to 327 months. But because the statutory maximum for each

count was 240 months’ imprisonment, the effective guidelines range became 240 months. See

18 U.S.C. § 1343.

       Both the 2008 and 2021 editions of the Guidelines define “loss” as “the greater of actual

loss or intended loss.” U.S.S.G. § 2B1.1, app. n. 3(A). Cunningham contends that, after his

sentencing, “there has been a realization that ‘losses’” for purposes of § 2B1.1, “are limited to

‘actual losses’ and cannot include ‘intended losses.’” [Record No. 1473-1, p. 24] Cunningham

cites opinions from the Third Circuit and the Eastern District of Michigan in support of this

proposition. See United States v. Banks, 55 F.4th 246, 262 (3d Cir. 2022); United States v.

McKinney, --F.Supp.3d--, 2022 WL 17547467 (E.D. Mich. Dec. 9, 2022).                 But as the

government astutely points out in its response to Cunningham’s motion, nonretroactive legal

developments do not factor into the extraordinary and compelling analysis. United States v.

McCall, 56 F.4th 1048, 1066 (6th Cir. 2022).



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       The Court also notes the Sixth Circuit recently rejected Cunningham’s argument

regarding intended loss in United States v. You, 2023 WL 4446497, --F.4th-- (6th Cir. July 11,

2023). Applying the framework set forth in Kisor v. Wilkie, --U.S.--, 139 S. Ct. 2400 (2019),

the court concluded that “loss” is genuinely ambiguous and the Commission’s reading of that

term is entitled to deference. Accordingly, it confirmed that “loss” can mean intended loss in

the § 2B1.1 context. Thus, Cunningham’s argument fails on the merits, in any event. Finally,

Cunningham’s request for relief based on proposed guideline amendments is premature, as the

amendments are not scheduled to become effective until November 1, 2023.

       Next, Cunningham argues that his efforts toward rehabilitation justify reducing his

sentence. But that argument flounder as well. It is firmly established that rehabilitation, on its

own, cannot constitute an extraordinary and compelling reason for a sentence reduction.

United States v. Hunter, 12 F.4th 555, 561 (6th Cir. 2021) (citing 28 U.S.C. § 994(t)). And

the Sixth Circuit clarified in McCall that rehabilitation, considered in conjunction with a

nonretroactive change in the law, also cannot amount to an extraordinary and compelling

reason to reduce a defendant’s sentence. 56 F.4th at 1065-66.

       In summary, the factors under 18 U.S.C. § 3553(a) also do not warrant a sentence

reduction. Cunningham participated in an elaborate scheme to defraud hundreds of vulnerable

victims of their settlement proceeds. As their attorney, he abused a position of trust and worked

with his colleagues with an intent to deprive the victims of more than $65 million. The

sentence imposed remains minimally sufficient to reflect the seriousness of the crime, promote

respect for the law, provide a just punishment, and promote general deterrence to those who

might be inclined to commit similar crimes.

       Based on the foregoing, it is hereby
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       ORDERED that Defendant Cunningham’s motion [Record No. 1473] is DENIED.

       Dated: July 14, 2023.




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